
The adjournment of this case originated in novelty and difficulty, touching the constitutionality, or judicial propriety of the judges of the District Court, carrying the following clause of an act of the General Assembly into execution, which was conceived to be opposed to, or in direct violation of the Constitution of the Commonwealth of Virginia.
The title and clause of the said act are thus : “An act reducing into one, the several acts concerning the establishment, jurisdiction, and powers of District Courts. ’ ’ (Passed December 12,1792.)
*“Sect. XI. Each of the said district courts in term time, or any judge thereof in vacation, shall, and may have and exercise the same power of granting injunctions to stay proceedings on any judgment obtainedin any of the said district courts, as is now had and exercised by the judge of the high court of chancery in similar cases, and the said district courts may proceed to the dissolution or final hearing of all suits commencing by injunction, under the same rules and regulations as are now prescribed by law for conducting similar suits in the high court of chancery.”
The Record, Arguments, and Decision, here follow.
At a District Court, held at Dumfries, the twenty-third day of May, one thousand seven hundred and ninety-three—Present, the Honourable Spencer Roane, Esq.
